
652 S.E.2d 921 (2007)
STATE of North Carolina
v.
William David CAUFMAN.
No. 368P07.
Supreme Court of North Carolina.
October 11, 2007.
Glenn Gerding, Southport, for Caufman.
Laura E. Crumpler, Assistant Attorney General, Susan Doyle, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 27th day of July 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 11th day of October 2007."
